Case 1:23-cv-23004-JB Document 41-1 Entered on FLSD Docket 07/22/2024 Page 1 of 15




                               EXHIBIT A
Case 1:23-cv-23004-JB Document 41-1 Entered on FLSD Docket 07/22/2024 Page 2 of 15
Case 1:23-cv-23004-JB Document 41-1 Entered on FLSD Docket 07/22/2024 Page 3 of 15
Case 1:23-cv-23004-JB Document 41-1 Entered on FLSD Docket 07/22/2024 Page 4 of 15
Case 1:23-cv-23004-JB Document 41-1 Entered on FLSD Docket 07/22/2024 Page 5 of 15
Case 1:23-cv-23004-JB Document 41-1 Entered on FLSD Docket 07/22/2024 Page 6 of 15
Case 1:23-cv-23004-JB Document 41-1 Entered on FLSD Docket 07/22/2024 Page 7 of 15
Case 1:23-cv-23004-JB Document 41-1 Entered on FLSD Docket 07/22/2024 Page 8 of 15
Case 1:23-cv-23004-JB Document 41-1 Entered on FLSD Docket 07/22/2024 Page 9 of 15
Case 1:23-cv-23004-JB Document 41-1 Entered on FLSD Docket 07/22/2024 Page 10 of 15
Case 1:23-cv-23004-JB Document 41-1 Entered on FLSD Docket 07/22/2024 Page 11 of 15
Case 1:23-cv-23004-JB Document 41-1 Entered on FLSD Docket 07/22/2024 Page 12 of 15
Case 1:23-cv-23004-JB Document 41-1 Entered on FLSD Docket 07/22/2024 Page 13 of 15
Case 1:23-cv-23004-JB Document 41-1 Entered on FLSD Docket 07/22/2024 Page 14 of 15
Case 1:23-cv-23004-JB Document 41-1 Entered on FLSD Docket 07/22/2024 Page 15 of 15
